






















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. PD-1297-04




THE STATE OF TEXAS



v.




STEPHEN JOHN HOLCOMBE, Appellee







ON APPELLEE'S PETITION FOR DISCRETIONARY REVIEW

FROM THE SECOND COURT OF APPEALS


TARRANT COUNTY




Keller, J., delivered the opinion of the Court in which PRICE, WOMACK, KEASLER, HOLCOMB and COCHRAN JJ.,
joined. HERVEY, J., filed a concurring opinion in which KEASLER, J., joined. JOHNSON, J., concurred in the result.
MEYERS, J., not participating.




The question in this case is whether a city ordinance that prohibits playing music "in such a manner as to . . . unreasonably
disturb or interfere with the peace, comfort and repose of neighboring persons of ordinary sensibilities" is
unconstitutionally vague because it fails to put the citizenry on notice of what is prohibited, fails to contain objective
standards, and gives the police unfettered discretion to determine what conduct amounts to a violation. The answer to this
question is "no." Consequently, we affirm the judgment of the Court of Appeals. 

I. BACKGROUND

On May 19, 2002, at approximately 2:30 a.m., two Bedford police officers, Joseph Riley and William Mack, responded for
the second time that night to complaints about a loud-noise disturbance created by a house party. The officers issued a
citation for violating Bedford's noise ordinance.

While returning to his patrol car, Officer Riley heard, from approximately seventy-five yards away, loud music playing
from appellee's white Mercedes. The officer testified that appellee's music was louder than the noise at the party for which
he had just written a citation. He further testified that the Bedford noise ordinance is a general noise ordinance that is not
specific to residences. Officer Mack testified that the music was "extremely" loud from one hundred twenty and one
hundred fifty feet away. Because the officers were called to the neighborhood in response to a loud noise disturbance call,
and Officer Riley believed appellee was violating the Bedford noise ordinance, they pulled him over and asked him to turn
down his music. While speaking to appellee through the sunroof of the car, Officer Riley smelled alcohol and noticed that
appellee's speech was slurred and his eyes appeared to be bloodshot. It appeared to the officer that appellee was under the
influence of alcohol, so he intended to keep speaking to him, but appellee apologized and drove off. Officer Riley then
radioed Officer Mack, who was about seventy-five yards down the street, and asked him to stop appellee. Appellee
subsequently was arrested for driving while intoxicated.
Appellee was charged by a misdemeanor information with driving while intoxicated. He filed a motion to suppress
evidence, in which he alleged that he was illegally arrested without a warrant, and thus he requested that all evidence
obtained as a result of the illegal arrest be suppressed. Following a pretrial evidentiary hearing, the trial court granted
appellee's motion. The court ruled that the Bedford noise ordinance is unconstitutional because it is overbroad and vague
for its failure to place the public on sufficient notice. The State appealed, and the Second Court of Appeals reversed the
trial court's judgment, concluding that the ordinance is not unconstitutionally overbroad (1) or vague because it "describes
the prohibited conduct and does not permit arbitrary or discriminatory enforcement." (2) Appellee's motion for rehearing was
overruled. 

Appellee filed a petition for discretionary review, arguing, among other things, that the Bedford noise ordinance is
unconstitutionally vague because it fails to provide notice of the prohibited conduct, fails to contain objective standards,
and gives the police unfettered discretion to determine what conduct violates the ordinance. We granted review and now
turn to that issue.

II. THE ORDINANCE

The Bedford ordinance provides:



The following sounds are hereby determined to be specific noises which can constitute a noise disturbance, and violations
of this article are hereby defined. A noise does not have to exceed the specifications for environmental sound levels
contained in section 12-53 (3) in order to constitute a violation of this section.





. . . 



(2) Radios, television sets, musical instruments and similar devices. Operating or permitting to be operated any radio
receiving set, musical instrument, television, phonograph, drum or other machine or device for the production or
reproduction of sound in such a manner as to violate the sound levels of this article or to unreasonably disturb or interfere
with the peace, comfort and repose of neighboring persons of ordinary sensibilities, unless a permit of variance is first obtained.


Bedford, Tex., Code of Ordinances ch. 54, art. II, § 36 (2002).

III. ANALYSIS

It is a basic principle of due process that a statute is void for vagueness if its prohibitions are not clearly defined. (4) The
void-for-vagueness doctrine requires that a penal statute define the criminal offense with sufficient definiteness that
ordinary people can understand what conduct is prohibited and in a manner that does not permit arbitrary and
discriminatory enforcement. (5) Although a statute is not impermissibly vague because it fails to define words or phrases, (6)
it is invalid if it fails to give a person of ordinary intelligence a reasonable opportunity to know what conduct is prohibited.
(7) Moreover, where, as here, a statute does not substantially implicate constitutionally protected conduct or speech, it is
valid unless it is impermissibly vague in all applications. (8) 

Appellee argues that the Bedford noise ordinance is impermissibly vague because it does not give reasonable notice of the
conduct the ordinance prohibits, nor provide an objective standard for determining when the ordinance is violated, such as
a specific decibel level or a specific distance from which the noise is audible. He claims that the lack of notice or objective
criteria in the ordinance gives police officers unlimited discretion to determine if the noise is sufficiently loud to constitute
a violation. 

The State argues that the ordinance is not unconstitutionally vague because it is couched in terms of objective
reasonableness. Because the ordinance employs the word, "unreasonably," it provides an objective standard of evaluation.
By grounding a noise ordinance in terms of reasonableness, the ordinance is not rendered unconstitutionally vague.

We agree with the State that the Bedford noise ordinance contains objective criteria for determining what conduct is
prohibited and therefore does not permit arbitrary enforcement. The ordinance clearly establishes an objective
reasonable-person standard by referring to "neighboring persons of ordinary sensibilities" and banning noise that
"unreasonably disturb[s] or interfere[s] with the peace, comfort and repose" of such persons. (9) These words describe noise
of the type or volume that a reasonable person would not tolerate under the circumstances. (10) 

Because we are limited to the use of words, we cannot demand mathematical certainty from our language. (11) Although the
Bedford noise ordinance does not define "noise" or "unreasonably disturb or interfere," words not defined are to be given
their plain meaning. (12) In determining the plain meaning of a word, we initially look to dictionary definitions. (13) "Noise"
commonly means a loud, confused, or senseless outcry; or a sound noticeably loud, harsh, or discordant. (14) "Unreasonable"
is an objective, reasonable-man standard. (15) The noise ordinance thus creates an objective standard that ensures that
persons of ordinary intelligence know when a particular noise is too loud. Such objectivity prevents broad discriminatory or
subjective enforcement by the police. Although the noise ordinance does allow a degree of police judgment, that judgment
is confined to the judgment of a reasonable person.

Here, the ordinance gave appellee adequate notice that blaring music from his car stereo at 2:30 a.m. was prohibited. His
conduct falls within the conduct proscribed by the Bedford noise ordinance. His claim of lack of notice fails.

Because the noise ordinance provides sufficient notice of the prohibited conduct, (16) it is unnecessary, for constitutional
purposes, for the ordinance to include explicit prohibitions of noise above a certain decibel level or noise that can be heard
at a certain distance. (17) The words of the Bedford noise ordinance are "marked by flexibility and reasonable breadth, rather
than meticulous specificity," and the conduct that is prohibited is sufficiently definite to satisfy due process. (18) 

We hold that the Bedford noise ordinance is not unconstitutionally vague, and we affirm the judgment of the Court of
Appeals.

Keller, Presiding Judge 

Date delivered: March 22, 2006

Publish 

1. Appellee does not challenge the Court of Appeals's holding regarding the overbreadth claim. 

2. Holcombe, 145 S.W.3d at 253, 255. 

3. Section 12-53, recodified at Bedford, Tex., Code of Ordinances ch. 54, art. II, § 36 (2002), states: 

(a) It shall be a violation of this article for any person to operate or permit to be operated any stationary source of sound
which creates a unit percentile sound level (L1) greater than the sound pressure level (L90) as set forth in this article, or
creates a tenth percentile sound level (L10) or a ninetieth percentile sound level (L90) which exceeds the limits set forth in
this article for the land use receiving the sound when measured at the property boundary of the receiving land. 

(b) For the purpose of enforcement, a sound measurement period shall not be less than ten minutes nor more than 30
minutes. 

(c) Sound level limits. 

(1) Limiting sound levels, 7:00 a.m. to 9:00 p.m. 

TABLE INSET: 
        
Category     
L90     
L10       
Residential     
55 dBA     
65 dBA       
Commercial     
62 dBA     
72 dBA       
Industrial     
75 dBA     
85 dBA 

(2) Limiting sound levels, 9:00 p.m. to 7:00 a.m. 

TABLE INSET: 
        
Residential     
50 dBA     
60 dBA       
Commercial     
57 dBA     
67 dBA       
Industrial     
75 dBA     
85 dBA 

When a noise source can be identified and its noise measured in more than one land use category, the limits of the most
restrictive use shall apply at the boundary and within the most restrictive land use category. 

4. See, e.g., Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972). 

5. E.g., Kolender v. Lawson, 461 U.S. 352, 357 (1983). 

6. Engelking v. State, 750 S.W.2d 213, 215 (Tex. Crim. App. 1988). 

7. See Grayned v. City of Rockford, 408 U.S. 104, 108 (1972) 

8. Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495 (1982). 

9. Like the Bedford noise ordinance, the Model Penal Code relies on the term "unreasonable" in this context. The model
law prohibits persons from making "unreasonable" noise "with purpose to cause public inconvenience, annoyance or alarm,
or recklessly creating a risk thereof." Model Penal Code § 250.2(1)(b) (1962). The great majority of courts that have
reviewed ordinances patterned on the Code or employing the phrase "unreasonable noise," like the Code, have upheld the
ordinances against challenges of unconstitutional vagueness. See Price v. Indiana, 622 N.E.2d 954 (Ind. 1993); People v.
Bakolas, 449 N.E.2d 738 (N.Y. 1983) (per curiam); Commonwealth v. Mastrangelo, 414 A.2d 54 (Pa. 1980), appeal
dismissed sub nom., Mastrangelo v. Commonwealth, 449 U.S. 894 (1980); People v. Fitzgerald, 573 P.2d 100 (Colo.
1978); State v. Marker, 536 P.2d 1273 (Or. 1975); State v. Johnson, 542 P.2d 808 (Ariz. 1975); State v. Anonymous, 298
A.2d 52 (Conn. 1972); Heard v. Rizzo, 281 F. Supp. 720 (E.D. Pa.1968), aff'd per curiam 392 U.S. 646 (1968); Hess v
State, 297 N.E.2d 413 (Ind. 1973), rev'd on other grounds sub nom., Hess v. State, 414 U.S. 105 (1973). 

10. Because the Bedford noise ordinance employs the phrase, "neighboring persons of ordinary sensibilities," to describe a
reasonable person, it is more definite than, for instance, the dog barking ordinance in State v. Singer, 945 P.2d 359, 361-62
(Ariz. Ct. App. 1997), which provides that "no person shall keep a dog within the City limits which is in the habit of
barking or howling or disturbing the peace and quiet of any person within the City." (emphasis added). Yet, the court in
Singer found inherent in the phrase "any person" a presumption that the person be a reasonable person, and thus upheld the
ordinance against an unconstitutional vagueness challenge because it was capable of objective measurement. Id. at 362; see
also Town of Baldwin v. Carter, 794 A.2d 62 (Me. 2002) (importing a reasonable person standard into a dog barking
ordinance to hold that it was not unconstitutionally vague). In this case, there is no need to import a reasonable person
standard into the Bedford noise ordinance because the ordinance explicitly uses objective language and thus gives
sufficiently definite notice of the prohibited conduct for purposes of due process. 

11. Grayned, 408 U.S. at 110. 

12. Parker v. State, 985 S.W.2d 460, 464 (Tex. Crim. App. 1999). 

13. Ex parte Rieck, 144 S.W.3d 510, 512 (Tex. Crim. App. 2004). 

14. Webster's Third New International Dictionary 1533 (1981). 

15. See, e.g., Bakolas, 449 N.E.2d at 738. 

16. Indeed, the objective "reasonableness" test is used in many areas of the law as an appropriate determinant of liability
and thus a guide to conduct. See Price, 622 N.E.2d at 967. In Cameron v. Johnson, 390 U.S. 611, 616 (1968), for instance,
the Supreme Court responded to a defendant's vagueness complaint as to a picketing ordinance, which prohibited only
"picketing . . . in such a manner as to obstruct or unreasonably interfere with free ingress or egress to and from any . . .
county . . . courthouses . . .", by stating that "the term 'unreasonably interfere' plainly requires no 'guess[ing] at [its]
meaning'." The court determined that, because the ordinance employs the term "unreasonably"-a widely used and well
understood word, especially when juxtaposed with "interfere"-the ordinance is "a precise and narrowly drawn regulatory
statute evincing a legislative judgment that certain specific conduct be . . . proscribed." See id. (quoting Edwards v. South
Carolina, 372 U.S. 229, 237 (1963)). 

17. See Blanco v. State, 761 S.W.2d 38, 41 (Tex. App.-Houston [14th Dist.] 1988, no pet.) (finding that a decibel
requirement in a noise ordinance would render it "rigid and inflexible"). In our opinion, distance and decibel level standards
are not only unnecessary, but not usually helpful to the ordinary person because people do not carry around yardsticks or
decibel meters. 

18. Grayned, 408 U.S. at 110.


